                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TENNESSEE
                             AT GREENEVILLE


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      No. 2:08-CR-096
                                              )
TAMMY L. RECTOR                               )


                                     ORDER

             The court has entered an agreed order of revocation [doc. 342]. It is

recommended that the defendant be designated to FCI Tallahassee, Florida.



                                                     ENTER:


                                                             s/ Leon Jordan
                                                        United States District Judge




Case 2:08-cr-00096-RLJ     Document 343 Filed 11/05/13        Page 1 of 1    PageID #:
                                      1115
